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                           Exhibit 3
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August 21, 2023

Kevin Kirsch, Esq.
BakerHostetler
200 Civic Center Drive, Suite 1200
Columbus, OH 43215-4138
kkirsch@bakerlaw.com

        Re:       Use of Licensed CygNet Software

Dear Kevin:

As you know, we represent Iron-IQ, Inc. and we write in response to the letter of James Kurka dated
August 14, 2023. We reject Weatherford’s contention that Iron-IQ has ever used an “unlicensed” copy
of CygNet. Indeed, to Iron-IQ’s knowledge, it is not even technologically possible to use an unlicensed
version of the software.

The only version of the software that Iron-IQ has ever used is the licensed 3-day trial. Upon
installation, the program specifically provided: “CygNet will expire after a 3-day trial period if a valid
license file is not installed.” To our knowledge, that is exactly what occurred.

Given the above, we will consider this matter closed. However, if you disagree, please advise the
basis for your client’s assertion that Iron-IQ is using an “unlicensed” version of the software.

Yours truly,



Andrew D. Skale
Member




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                               MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, P.C.
